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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE


Case Number: 22-cv-00098 (WMW/JFD)

Case Title:   SMARTMATIC USA CORP., SMARTMATIC INTERNATIONAL HOLDING
              B.V., and SGO CORPORATION LIMITED v. MICHAEL J. LINDELL and MY
              PILLOW, INC.


                                      Affidavit of Movant

I, William E. Manske, an active member in good standing of the bar of the U.S. District Court
for the District of Minnesota, request that this Court admit pro hac vice Maura T. Levine-Patton,
an attorney admitted to practice and currently in good standing in the U.S. District Court for the
Northern District of Illinois, but not admitted to the bar of this court, who will be counsel for
Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation
Limited in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

 X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

       Signature: s/ William E. Manske                       Date: January 19, 2022

       MN Attorney License #: 0392348




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                                 Affidavit of Proposed Admittee


I, Maura T. Levine-Patton, am currently a member in good standing of the U.S. District Court for
the Northern District of Illinois, but am not admitted to the bar of this court. I understand that if
this Court grants me admission pro hac vice, the moving attorney identified in this motion must
participate in the preparation and presentation of the case listed above, and must accept service
of all papers served as required by LR 83.5(d). I further understand that the District of Minnesota
is an electronic court and that I will receive service as required by Fed. R. Civ. P. 5(b) and 77(d)
by electronic means and I understand that electronic notice will be in lieu of service by mail.

Signature:                                           Date: January 19, 2022

Typed Name: Maura T. Levine-Patton

Attorney License Number: 6330026                       issued by the State of Illinois

Federal Bar Number (if you have one):

Law Firm Name: Benesch, Friedlander, Coplan & Aronoff LLP

Law Firm Address: 71 South Wacker Drive, Suite 1600

                     Chicago, IL 60606




Main phone: (312) 212-4949                         Direct line: (312) 624-6368

E-mail address: mlevine-patton@beneschlaw.com




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